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14

15                            UNITED STATES DISTRICT COURT

16                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

17   UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS

18              Plaintiff,                     JOINT REPORT

19                    v.                       Hearing Date: December 16, 2021
                                               Hearing Time: 10:00 a.m.
20   MICHAEL JOHN AVENATTI,

21              Defendant.

22

23         Pursuant to the Court’s request, plaintiff United States of

24   America, by and through its counsel of record, the United States

25   Attorney for the Central District of California and Assistant United

26   States Attorneys Brett A. Sagel and Alexander C.K. Wyman, and

27   ///

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 1   defendant MICHAEL JOHN AVENATTI, pro se, and through his advisory

 2   counsel, H. Dean Steward, hereby file their Joint Report.

 3

 4    Dated: December 15, 2021             Respectfully submitted,

 5                                         TRACY L. WILKISON
                                           United States Attorney
 6
                                           SCOTT M. GARRINGER
 7                                         Assistant United States Attorney
                                           Chief, Criminal Division
 8

 9                                             /s/
                                           BRETT A. SAGEL
10                                         ALEXANDER C.K. WYMAN
                                           Assistant United States Attorneys
11
                                           Attorneys for Plaintiff
12                                         UNITED STATES OF AMERICA
13
      Dated: December 15, 2021               /s/ with authorization
14                                         H. DEAN STEWARD
15                                         Advisory Counsel for Defendant
                                           MICHAEL JOHN AVENATTI
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 1                                     JOINT REPORT

 2   I.    THE GOVERNMENT’S POSITION

 3         On December 8, 2021, defendant filed an ex parte application for

 4   a hearing regarding defendant’s conditions of release and need to

 5   travel to New York to meet with his counsel and attend his upcoming

 6   embezzlement trial in United States v. Avenatti, 19 CR 374-JMF

 7   (SDNY).    (CR 887.)    The government filed its response the following

 8   day noting that the government is willing to stipulate to modify

 9   defendant’s conditions of release to permit defendant to travel to

10   New York as long as the proposed modifications are consistent with

11   this Court’s prior orders.       (CR 888, citing CR 140, CR 478, CR 521.)

12   On December 9, 2021, the Court directed the parties to meet and

13   confer to determine what modifications the parties could agree on and

14   file a joint report by noon in advance of the hearing.

15         The parties met and conferred on December 13, 2021, at 3:30 p.m.

16   At approximately 10:00 a.m. in advance of the meet and confer, the

17   government provided defendant with the following proposed language

18   for the parties to discuss that the government believed would be

19   consistent with the parties’ prior stipulations and this Court’s

20   prior orders:

21         Defendant is permitted to travel to the Southern District
           of New York for the purposes of attending his trial in SDNY
22         Case No. 19 Cr. 374 (JMF) and meeting with his attorneys
           during the time period from    (start date)    to two days
23         following the conclusion of the trial, provided that: (a)
           defendant is accompanied during his travel from the Central
24         District of California to the Southern District of New York
           and from the Southern District of New York to the Central
25         District of California at all times by               (which
           can be an approved third-party custodian or a member of the
26         defense team from either the CDCA or SDNY case); (b) While
           in New York, defendant is permitted to be present at, and
27         travel in between, the airport, his hotel (or other
           location approved by Court/PSA), the offices of his
28         attorneys, and the federal courthouse for the Southern
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 1         District of New York, provided he is accompanied by
           (which can be an approved third-party custodian or a member
 2         of the defense team from either the CDCA or SDNY case); (c)
           defendant provides his flight and hotel (or other location
 3         approved by Court/PSA) information to the Pretrial Services
           Agency (“PSA”) (and the Court if requested) at least 72
 4         hours prior to any travel; (d) defendant complies with any
           other conditions imposed by the PSA and previously imposed
 5         by this Court in setting defendant’s temporary release (CR
           140); and, (e) Mr. H. Dean Steward provides confirmation to
 6         PSA that defendant’s surety consents to permit defendant to
           travel as set forth above.
 7

 8   (Exhibit 1, attached.)      In the government’s filing (CR 888) and

 9   proposed language submitted to defendant in advance of the meet and

10   confer, the government’s position was clear that it did not believe

11   it could agree to a modification that conflicts with this Court’s

12   prior orders setting forth what the Court deemed to be the minimum

13   conditions necessary to grant defendant’s temporary release.

14         At the meet and confer, defendant asked Andrew Dalack, one of

15   defendant’s three public defenders from his SDNY embezzlement case,

16   to speak on defendant’s behalf.        Mr. Dalack recommended that the

17   parties agree to a modification of defendant’s bond conditions that

18   would allow defendant to travel alone to and from California and New

19   York and that would remove the requirement that defendant be

20   accompanied by a custodian or have supervision of any kind while

21   traveling and while in New York.        Mr. Dalack claimed these

22   requirements were unnecessary and that the Public Defender’s Office

23   had the resources to subsidize defendant’s travel but not to pay for

24   an additional person to accompany defendant.          The government informed

25   Mr. Dalack, as it had previously noted in its filing, that

26   defendant’s requested modifications conflicted with the orders of

27   this Court (as well as the stipulations of defendant), and that the

28   government could not agree to something that conflicted with this

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 1   Court’s orders.     In response, Mr. Dalack stated that the defense

 2   intended to ask the Court for the modification defendant was seeking.

 3   The government asked whether the defense wanted to discuss any

 4   further language for a proposed modification, and Mr. Dalack stated,

 5   in sum, that if the government was not willing to agree to conditions

 6   less restrictive than what the Court previously ordered, defendant

 7   would simply raise their proposed modifications with the Court.

 8         At all times, the government has been willing to work with

 9   defendant to modify his conditions of temporary release to permit him

10   to travel to and from New York to meet with his counsel to prepare

11   for and attend his trial, provided that those modifications are

12   consistent with the Court’s prior orders.          On each occasion,

13   defendant has sought a stipulation from the government that conflicts

14   with the conditions of release that the Court ordered (and to which

15   defendant stipulated).      The government set forth its position and

16   responses to defendant’s claims in its response to defendant’s ex

17   parte application (CR 888).       The government believes that its
18   proposed modification, set forth above, will both allow defendant to
19   attend his upcoming trial in New York and respect the conditions of

20   temporary release previously ordered by this Court.            Accordingly, the

21   government respectfully requests that the Court adopt the

22   government’s proposal should it grant defendant’s request for a

23   modification of the conditions of his temporary release.

24   II.   DEFENDANT’S POSITION

25         On December 13, 2021, defendant and one of his attorneys in

26   United States v. Avenatti, 19-CR-374-JMF (the "Daniels case”), Andrew

27   J. Dalack, Esq., participated in a conference call with the

28   government. The slated purpose of the "meet and confer" was to

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 1   discuss whether any possible agreement amongst the parties regarding

 2   modifications to defendant’s bail conditions could be reached that

 3   would allow defendant to adequately meet with his attorneys in New

 4   York and prepare for and attend trial in the Daniels case.

 5         On the call, Mr. Dalack explained to AUSA Brett Sagel that

 6   defendant needed to modify the conditions so that he could travel and

 7   be present without a custodian. Mr. Dalack also explained that while

 8   his office is able to cover defendant’s travel costs, his office

 9   cannot cover the expenses associated with a custodian, and that a

10   custodian is otherwise unnecessary under the circumstances and given

11   that all other conditions would remain the same--i.e., that defendant

12   would still be subject to location monitoring and supervision by Pre-

13   Trial Services.

14         During the call, Mr. Sagel stated that he was unwilling to agree

15   to anything that was more permissive than what defendant's current

16   bail conditions currently permit, with the exception of merely

17   allowing defendant to travel to New York. Mr. Dalack stated that he

18   thought the entire purpose of the call was to discuss a possible

19   reasonable modification of the bail conditions and to try to reach an

20   agreement to be presented to the Court for approval. The call

21   concluded with no agreement between the parties. As a result,

22   defendant is filing a brief with his specific requests for

23   modification and setting forth the facts and law supporting his

24   position.

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                       EXHIBIT 1
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Sagel, Brett (USACAC)

From:                Sagel, Brett (USACAC)
Sent:                Monday, December 13, 2021 9:55 AM
To:                  emma hernandez; Dean Steward
Cc:                  Wyman, Alex (USACAC)
Subject:             For the call today


For defendant:

Prior to our phone call at 3:30 today, we wanted to send you a proposed modification to your temporary release
conditions based on the parties’ prior stipulations and the Court’s prior orders (specifically CR 140, CR 478, and CR
521). Also, please let us know if you want us to circulate a dial‐in number or you will do so.

Defendant is permitted to travel to the Southern District of New York for the purposes of attending his trial in SDNY Case
No. 19 Cr. 374 (JMF) and meeting with his attorneys during the time period from _(start date)______ to two days
following the conclusion of the trial, provided that: (a) defendant is accompanied during his travel from the Central
District of California to the Southern District of New York and from the Southern District of New York to the Central
District of California at all times by _______________ (which can be an approved third‐party custodian or a member of
the defense team from either the CDCA or SDNY case); (b) While in New York, defendant is permitted to be present at,
and travel in between, the airport, his hotel (or other location approved by Court/PSA), the offices of his attorneys, and
the federal courthouse for the Southern District of New York, provided he is accompanied by __________ (which can be
an approved third‐party custodian or a member of the defense team from either the CDCA or SDNY case); (c) defendant
provides his flight and hotel (or other location approved by Court/PSA) information to the Pretrial Services Agency
(“PSA”) (and the Court if requested) at least 72 hours prior to any travel; (d) defendant complies with any other
conditions imposed by the PSA and previously imposed by this Court in setting defendant’s temporary release (CR 140);
and, (e) Mr. H. Dean Steward provides confirmation to PSA that defendant’s surety consents to permit defendant to
travel as set forth above.




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